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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                             SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )
            v.                           )         No. S1-1:06 CR 134 CDP
                                         )                            DDN
DENNIS DINWIDDIE, et al.,                )
                                         )
                     Defendants.         )

                            REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE
                         REGARDING JOINDER OR SEVERANCE

        This action is before the Court upon the motion of defendant Dennis
Dinwiddie for severance of parties.          The pretrial motions of all parties
were referred to the undersigned United States Magistrate Judge pursuant
to 28 U.S.C. § 636(b).            An evidentiary hearing on the motions of
defendant Dinwiddie was held on September 14, 2007.
        Defendant Dennis Dinwiddie has moved for severance and a separate
trial.    Defendant appears to contend that joinder of these defendants
for trial would be prejudicial.         In such a case, the moving defendant
would be entitled to a separate trial.          Fed. R. Crim. P. 14.
        In this case the government consents to a separate trial for
defendant Dinwiddie and does not oppose the motion to sever.
        Whereupon,
        IT IS HEREBY RECOMMENDED that the motion of defendant Dennis
Dinwiddie to sever his case for a trial separate from that of his co-
defendants (Doc. 230) should be sustained.
        The parties are advised they have ten days from this date to file
written objections to this Report and Recommendation.            The failure to
file objections may result in a waiver of the right to appeal issues of
fact.


                                          /S/   David D. Noce
                                       UNITED STATES MAGISTRATE JUDGE


Signed on October 12, 2007.
